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L L P




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S C H I L L E R




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B O I E S




                   16
                                      UNITED STATES DISTRICT COURT
                   17        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                   18
                   19 BROIDY CAPITAL MANAGEMENT                    Case No. 2:18-CV-02421
                      LLC, ELLIOTT BROIDY, and ROBIN
                   20 ROSENZWEIG,                                  The Honorable John F. Walter
                   21              Plaintiffs,                     DECLARATION OF ELLIOTT
                                                                   BROIDY IN SUPPORT OF
                   22        v.                                    PLAINTIFFS’ EX PARTE
                                                                   APPLICATION FOR (1)
                   23 STATE OF QATAR, STONINGTON                   TEMPORARY RESTRAINING
                      STRATEGIES LLC, NICOLAS D.                   ORDER AGAINST DEFENDANTS;
                   24 MUZIN, and DOES 1-10,                        (2) ORDER TO SHOW CAUSE FOR
                                                                   PRELIMINARY INJUNCTION;
                   25              Defendants.                     AND (3) ORDER GRANTING
                                                                   EXPEDITED DISCOVERY
                   26
                                                                   [Ex Parte Application; Memorandum
                   27                                              of Points and Authorities;
                                                                   Declarations of Joel Mowbray, Lee
                   28                                              Wolosky, and J. Luke Tenery;
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                    1                                          [Proposed] Temporary Restraining
                                                               Order, Order to Show Cause
                    2                                          Regarding Preliminary Injunction,
                                                               and Order Granting Expedited
                    3                                          Discovery; and [Proposed] Order
                                                               Granting Preliminary Injunction filed
                    4                                          concurrently herewith]
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F L E X N E R




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S C H I L L E R




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                    1                       DECLARATION OF ELLIOTT BROIDY
                    2         I, Elliott Broidy, hereby declare as follows:
                    3         1.     I am a Plaintiff in this action. I am also the Chairman and Chief
                    4
                        Executive Officer of Plaintiff Broidy Capital Management, LLC (“BCM”).
                    5
                              2.     BCM is an investment firm based in Los Angeles, California, that
                    6
                    7 makes investments in, among other things, privately-held defense contracting
L L P




                    8
                        companies.
                    9
F L E X N E R




                              3.     In the defense contracting space, discretion is very important and
                   10
                   11 highly valued. The projects of our portfolio companies involve sensitive
                   12
S C H I L L E R




                        counterterrorism and intelligence initiatives, among other things, and many of our
                   13
                   14 employees have high-level security clearances. The work is both highly confidential
                   15 and proprietary. Our clients rely on us to protect information that is highly
B O I E S




                   16
                        sensitive, and the success of our businesses depends on our ability to protect
                   17
                   18 proprietary information and methodologies.
                   19         4.     Confidential information is stored electronically at BCM, as is trade
                   20
                        secret, proprietary and business strategy information relating to BCM and its
                   21
                   22 portfolio companies. As CEO and Chairman of BCM, I had electronic access to all
                   23 of these materials. Any person unlawfully using my log-in credentials (or those of
                   24
                        certain of my employees) would also have access to those materials. My log-in
                   25
                   26 credentials also provide access to personal correspondence between myself and my
                   27 wife (Plaintiff Robin Rosenzweig) and other family members. My wife is an
                   28

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                    1 attorney and her email accounts and computer contain data that is subject to the
                    2
                        attorney-client and other legal privileges.
                    3
                              5.     BCM has been a financially successful company, and I have strived to
                    4
                    5 use that success to give back to the community through my work as a philanthropist.
                    6
                        I have served in leadership or advisory positions on the Council of Guardians for
                    7
L L P




                    8 Aviva Family and Children’s Services, Wilshire Boulevard Temple, the USC Hillel
                    9 Foundation, Hebrew Union College, and the Simon Wiesenthal Foundation.
F L E X N E R




                   10
                        President George W. Bush appointment me to the Board of Trustees of the Kennedy
                   11
                   12 Center for Performing Arts in 2006.
S C H I L L E R




                   13         6.     I have also been participated in public affairs and increased my
                   14
                        involvement in that area after the attacks on the United States on September 11,
                   15
B O I E S




                   16 2001. In 2005, Secretary Michael Chertoff appointment me to the United States
                   17 Homeland Security Advisory Council and I have served as Commissioner of the Los
                   18
                        Angeles City Fire and Police Pension Fund. The Homeland Security Advisory
                   19
                   20 Council issued a “Findings” report on January 11, 2007 in which it stated that the
                   21 “elimination of safe havens” was an important measure that would “impact the
                   22
                        future of terrorism.” A copy of that report is attached hereto as Exhibit #1.
                   23
                   24         7.     I have also increased my involvement in Republican Party activities in

                   25 recent years, because I believe the Republican Party has the better policies for
                   26
                      safeguarding the national security of the United States. Among other roles, I have
                   27
                   28 served as Deputy National Chairman of the Republican National Committee’s

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                    1 Finance Leadership Team and in leadership positions in the Republican Jewish
                    2
                        Coalition.
                    3
                              8.     I have never been shy about expressing my opposition to terrorism, my
                    4
                    5 commitment to the security of the United States, and my support for Israel. My
                    6
                        business initiatives have been designed to increase the security of the United States
                    7
L L P




                    8 and its friends and partners. I have sought in particular to find ways to enhance our
                    9 security while reducing the amount of American blood and treasure we must expend
F L E X N E R




                   10
                        to keep our nation safe.
                   11
                   12         9.     As I learned more about how terrorist and extremist organizations rely
S C H I L L E R




                   13 on state sponsorship, I grew more concerned about the activities of the State of
                   14
                        Qatar. I learned that, despite its attempts to foster a softer image, the State of Qatar
                   15
B O I E S




                   16 provides substantial financial and logistical support for terrorist organizations in the
                   17 Middle East, including Al-Qaeda and its affiliates, Hamas, the Taliban, and the
                   18
                        Muslim Brotherhood. I was also offended—and concerned—about anti-Semitic
                   19
                   20 programming on Al Jazeera (which is Qatar’s state-owned international broadcaster)
                   21 and the distribution of anti-Semitic propaganda (such as the “Protocols of the Elders
                   22
                        of Zion”) at the Doha International Book Fair. The more I learned about Qatar, the
                   23
                   24 more troubled I became.
                   25         10.    In 2017, I decided that I would channel my concerns about the
                   26
                        activities of the State of Qatar into action. I decided that I wanted to help others
                   27
                   28 understand the dangers posed by the State of Qatar.

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                    1         11.    On May 23, 2017, I helped sponsor a conference in Washington D.C.
                    2 hosted by the Foundation for Defense of Democracies on “Qatar and the Muslim
                    3
                      Brotherhood’s Affiliates: A New U.S. Administration Considers New Policies.”
                    4
                    5 Speakers for that event included a bipartisan group of experts, including former
                    6
                        Secretary of Defense Robert Gates and Jake Sullivan, the former National Security
                    7
L L P




                        Adviser to Vice President Biden. The conference focused on the dangers that the
                    8
                    9 State of Qatar posed to the security of the United States. Congressman
F L E X N E R




                   10
                        Edward R. Royce, the Chairman of the House Foreign Affairs Committee, spoke on
                   11
                        a panel and stated that: “I think we are moving on legislation that addresses those
                   12
S C H I L L E R




                   13 states who don’t keep their commitment with respect to changing behavior
                   14
                        supporting organizations that are sowing terror. This becomes the acid test.” Later
                   15
B O I E S




                        that month, Congressman Royce joined other members of the House of
                   16
                   17 Representatives in introducing H.R. 2712, a bill that would impose sanctions on
                   18
                        entities that sponsor Hamas, and it explicitly included Qatar as such a sponsor, which
                   19
                   20 I strongly supported.
                   21         12.    On June 5, 2017, many of Qatar’s Arab neighbors, led by Saudi Arabia
                   22
                        and the United Arab Emirates, broke off economic and diplomatic ties with the State
                   23
                   24 of Qatar. Later that month, I attended a meeting of the Republican National
                   25 Committee at the Trump Hotel in Washington D.C. President Donald Trump gave a
                   26
                        speech in which he acknowledged my attendance and stated: “I prefer that they
                   27
                   28 [Qatar] don’t fund terrorism.”

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                    1         13.   On October 23, 2017, I helped to sponsor a bipartisan conference in
                    2
                        Washington D.C. hosted by the Hudson Institute on “Countering Violent
                    3
                        Extremism: Qatar, Iran and the Muslim Brotherhood.” Former Secretary of Defense
                    4
                    5 Leon Panetta, Former Director of the CIA David Petraeus, Senator Tom Cotton,
                    6
                        Representative Brad Sherman, former State Department official Dennis Ross, and
                    7
L L P




                    8 Council on Foreign Relations Senior Fellow Ray Takeyh, among others, spoke at
                    9 the conference.
F L E X N E R




                   10
                              14.   I advocated that the U.S. take a strong position against state sponsors of
                   11
                   12 terrorism such as Qatar, and I shared my views with Members of Congress and the
S C H I L L E R




                   13 Trump Administration, including President Trump.
                   14
                              15.   I was aware that in the summer of 2017 Qatar began to spend millions
                   15
B O I E S




                   16 of dollars to hire lobbyists to whitewash their record of sponsoring terrorists.
                   17         16.   In late 2017, I became aware that one lobbyist, Nick Muzin of
                   18
                        Stonington Strategies, was asking Jewish-American leaders to meet with the Emir of
                   19
                   20 Qatar when he was in New York City for the United Nations General Assembly and
                   21 was also offering to fly Jewish-American leaders to Qatar to meet with the Emir.
                   22
                        When I learned about these meeting invitations, I felt angry and expressed deep
                   23
                   24 anger about them. I considered the effort to bring Jewish-American leaders to Qatar
                   25 to be a despicable P.R. stunt by a government that sponsors organizations that
                   26
                      murder innocent Americans and Israelis. I encouraged other Jewish-American
                   27
                   28 leaders to not go on these junkets. I continued to speak out against Qatar’s

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                    1 sponsorship of terrorism and extremism. I knew that Qatar and its agents viewed me
                    2
                        as an enemy but I believed I could play and important role in speaking out on an
                    3
                        important issue.
                    4
                    5         17.    I first learned that I had been hacked when a London-based Wall Street
                    6
                        Journal reporter sent me an email on February 28, 2018 at 3:56:03 AM PST
                    7
L L P




                    8 informing me that he had my emails and that the Wall Street Journal was planning
                    9 to publish a story that “could be published online very early today.” A copy of that
F L E X N E R




                   10
                        email is attached hereto as Exhibit #2. The story that was the subject of that email
                   11
                   12 was, in fact, published on March 1, 2018.
S C H I L L E R




                   13         18.    After learning that I had likely been hacked, I hired forensic experts to
                   14
                        conduct an analysis of all computers that my wife and I used, as well as the
                   15
B O I E S




                   16 computers at BCM. Their conclusions were frightening to me: between January, 16,
                   17 2018 and February 25, 2018, there had been many instances of unauthorized access
                   18
                        to BCM computers. As a result, it was apparent that unauthorized parties had
                   19
                   20 obtained access to my communications.
                   21         19.    I soon began to hear from media organizations, which had confidential
                   22
                        documents, information, and emails that they had received without authorization
                   23
                   24 from the electronic files of BCM, my wife, and me. Often reporters told me or my
                   25 representatives that I only had a short time to comment before they would publish
                   26
                      stories based on this stolen material. Starting on March 1, 2018, reports based on
                   27
                   28 that stolen information have been published in the New York Times, Bloomberg

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                    1 News, McClatchy, BBC, The Associated Press, The Wall Street Journal, Business
                    2
                        Insider and a number of other publications.
                    3
                                 20.   Some of the articles that were published apparently relied on material
                    4
                    5 that consisted of forgeries or altered documents. One example of that was an article
                    6
                        portraying me as involved with a Russian bank that was the subject of international
                    7
L L P




                    8 sanctions. I never had any involvement with that Russian bank. To my knowledge,
                    9 only Al Jazeera, which is funded and controlled by the State of Qatar, published that
F L E X N E R




                   10
                        story.
                   11
                   12            21.   This media onslaught has been a sophisticated attempt to injure my
S C H I L L E R




                   13 professional and personal standing and activities and those of BCM and my wife.
                   14
                        Even worse, it is designed to serve as a warning to anyone with the temerity to
                   15
B O I E S




                   16 exercise his or her First Amendment rights to speak out and petition the United
                   17 States government on matters involving Qatar and its support for terrorism: If you
                   18
                        exercise those Constitutional rights, we will come after you, not in a legitimate
                   19
                   20 exchange of views, but by stealing your intellectual property and attempting to use
                   21 “leaks” to the press to generate stories designed to retaliate against you, undermine
                   22
                        your voice, and cause you to back down.
                   23
                   24            22.   The hackers have not posted all the stolen documents and information

                   25 online. The hackers are slowly dribbling parts of that material out in bits and pieces
                   26
                      to maximize the coverage. Each reporter is given a different ‘scoop’ to cover; the
                   27
                   28 hackers’ tactics have been effective at ensuring continuing coverage of stories about

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                     1 me based on the stolen information and data.
                     2
                               23.   This media onslaught is ongoing, with the New York Times reporting in
                     3
                         a front-page story on March 25, 2018 that “an anonymous group critical of Mr.
                     4
                     5 Broidy’s advocacy of American foreign policies in the Middle East” has been
                     6
                         sending out hundreds of documents purported to be from my email accounts. That
                     7
L L P




                     8 group is leaking out more documents, and I was contacted as recently as yesterday
                     9 about new material purporting to be emails and documents that were stolen from
F L E X N E R




                    10
                         me.
                    11
                    12         24.    Upon information and belief, the “anonymous group” distributing
S C H I L L E R




                    13 these materials was in fact the hackers and their associates who stole the documents
                    14
                         and emails from me, my wife, and BCM. The hacking and leaking activity
                    15
B O I E S




                    16 complained of has damaged and continues to damage the business of BCM and its
                    17 portfolio companies. As described above, working with companies in the defense
                    18
                         contracting business requires dealing with confidential information and trade
                    19
                    20 secrets, which are now compromised. That stolen information continues to appear in
                    21 news articles and is the subject of ongoing media inquiries. These disclosures alone
                    22
                         already have led to a loss of business goodwill and unless enjoined will continue to
                    23
                    24 do so. If, as I expect, the releases of hacked data, information, and documents
                    25 continues, then additional confidential data, information, documents, and trade
                    26
                       secrets will be released to the media and in turn to the public, and to BCM’s
                    27
                    28 competitors, thereby resulting in a further loss of reputation, goodwill, and

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                     1   competitive advantage.
                     2
                               25.    The hacking and leaking activity complained of has also cost me very
                     3
                         substantial amounts of money in incidence response, including amounts paid to
                     4
                     5 information technology experts, security experts, public relations experts, and
                     6
                         lawyers, among others.
                     7
L L P




                               26.    Since the Defendants have no legitimate interest in distributing my
                     8
                     9 stolen and altered emails and documents, I am asking that the court not require a
F L E X N E R




                    10
                         bond as a condition of the relief sought.
                    11
                    12
S C H I L L E R




                    13 Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is
                    14
                         true and correct.
                    15
B O I E S




                    16
                    17 Dated: March 29, 2018
                    18
                                                                            ___________________
                    19                                                      Elliott Broidy
                    20
                    21
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